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EXHIBIT B i

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SUPERlOR COURT OF THE DlSTRlCT OF COLU|}!|BIA

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CIVIL DIVISION CCWEN LF\W DEPARr:\/iem
t‘-'EB 03 2009
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VS4 c.A. No. 2009 rejections-nran

mDYMAc BANK mm §§ m,§ §

INITlAL ORDER AND ADDENDUM

Pursuant to D.C. Code § ll-906 and District of Colurnbia Superior Ccurt Rule of Civil Procedure
(“SCR Civ”) 40-1, it is hereby ORDERED as follows:

(l) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge’s name beneath the case number in the caption. On

filing any motion or paper related thereto, one copy (for the _judge) must be delivered to the Clerk along with the
original.

(2) Within 60 days of the filing of the complaint, plaintiff must tile proof of serving on each defendant
copies of the Surnmons, the Complaint, and this Initial Order. As to any defendant for whom such proof of
service has not been tiled, the Cornplaint will be dismissed without prejudice for want of prosecution unless the
time for serving the defendant has been extended as provided in SCR Civ 4(rn). »

(3) Within'ZO days of service as described above, except as otherwise noted in SCR Civ 12, each defendant
must respond to the Cornplaint by filing an Answer' or other responsive pleading As to the defendant who has

failed to respond, a default and judgment will be entered unless the time to respond has been extended as
provided in SCR Civ 55(a).

(4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an Initial Scheduling and Settlement Coni`erence to discuss the possibilities of settlement and
to establish a schedule for the completion of all proceedings, including, normally, either mediation, case
evaluation, or arbitration Counsel shall discuss with their clients p_r_i_o_l_‘ to the conference whether the clients are
agreeable to binding or non~binding arbitration This order is the only notice that parties and counsel will
receive concerning this Cont`erence.

(5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
` Branch (202) 879»1750 may continue the Conferenee _o_qgg, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than six business days before the scheduling conference date,
No other continuance of the conference will be granted except upon motion for good cause shown.

Chief Judge Lee F. Sattert`reld

Case Assigned to: Judge CHERYL l\/l LONG
Date: January 27, 2009
lnitial Cont`erence: 9:30 arn, Friday, May l5, 200
Location: Courtroorn 518
500 lndiana Avenue N.W.
WASHINGTON, DC 20001

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ADDENDUM TO INITIAL ORDER AFFEC'I`ING
ALL MEDICAL MALPRACTICE CASES

in accordance with the l\/ledical Malpractice Proceedings Act of 2006, D.C` Code § 16~2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree{,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the lSSC." D.C. Code § l6-
2821.

'fo ensure compliance with this legislation, on or before the date of the ISSC, the Court will
` notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. information about the early mediation date also is available over
the internet. at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORl\/l, which must be filed no later than ten (lO) calendar days prior to the
ISSC¢ Two separate Early l\/lediation Forms are available Both forms may be obtained at
www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a mediator
from the multi-door medical malpractice mediator roster; the second form is to be used for early
'mediation with a private `rnediator. Both forms also are available in the Multi~Door Dispute
Resolution Office, Suite 105, 515 Sth Street, N.W. (enter at Police Memorial Plaza entranee).
Plaintiff‘s counsel is responsible for eFiling the form and is required to e-mail a courtesy copy to
earlymedmal@dcsc.gov. P)'o se Plaintiffs who elect not to eFile may file by hand in the I\/lulti-Door
Dispute Resolntion Ofiice. g

A roster of medical malpractice mediators available through the Court's Multi-Door Dispute '
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts..gov/medmaimediation/mediatorprofxles. All individuals on the roster are judges or
lawyers with at least lO years of significant experience in medical malpractice litigation D.C.~Code

§ l6~2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code §
16-2823(b).

The following persons are required by statute to attend personally the Early Mediation
Conference: (l) all parties; (,2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with

settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D,C. Code § 16~2824. .

No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding: (l)
attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation D.C. Code §
16»2826. Any Plaintiff who is pro se may elect to tile the report by hand With the Civil Clerl<"s
Office. The forms to § be used for early mediation reports are available at
www.dccourts.gov/medmalmediation.

Chief Judge Lee F. Satterfield

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CA Form l `

Superior Court ot the District of Columbia
' CIVIL DIVISION
y500 lndiana Avenue, N.W., Room JM-170
Washiugton,D.C. 20001 Telephone: 879~1133

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vs. Civil 'Action No.i

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¢7 13 .ZW summons

To the above named Defendant:

You are hereby summoned and required to serve an Answer to the attached Complaint, either
personally or through an attorney, within twenty (20) days after service of this summons upon you, exclusive
of the day of service lf you are being sued as an officer or agency of the United States Government or the
District` of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the party plaintiff who is suing you. The
attorney’s name and address appear below, if plaintiff has no attorney, a copy of the Angwer must be
mailed to the plaintiff at the address stated on this Surnmons.

, You are also required to file the original Answer with the Court in Room JM 170 at 500 indiana

Avenue, N.W., between 8:30 a.m“ and 5:_00 p.m., Mondays through Fridays or between 9:00 a.m., and 12100
noon on Saturdays~. \fou may tile the original Answer with the Court either before you serve a copy of the
Ariswer on the plaintiff or within five (S) days after you have served the plaintiff If you fail to file an
Answer, judgment by default may be entered against you for the relief demanded in the complaint

Clerk of the Cour! ,_

 

Namc of Plaintifl`s Al!orncy

 
 

 

 

 

 

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PUEDE OBTENERSE COFIAS DE ESTE FORMULARIO EN ESPANOL EN EL TRIBUNALSUPER}OR DEL
DlSTRlTO DE COLUMBlA, 500 INDIANA AVENUE, N.W., SALA JM l70 "" `

YOU MAY OBTAIN A COPV OF THIS FORM IN SPAN\SH AT THE SUPERIOR COURT OF D.C., 500 INDIANA
AVENUE, N.W.., ROOM JM 170

NOTE: SEE IMPORTANT lNFORMATlON ON BACK OF TH!S FORM.

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SUPERIOR COURT FOR THE DISTRICT OF CGLUMBIA
CWIL DIVISION

Luis Ivan Poblete '
413016“‘ sneeth _. . ~ _
WashingtonD..C 20011-.7004
Plaintiif, '

   

CA:

-VS. "\\... _~'

INDYM.AC BANK
6900 BEATIUCE DRIVE *
KALAMAZOO, MI 49009

GCWEN LOA.N SERVlCl'NG, LLC =t~ s
12650 INGENUITY DRIVE
ORLANDO FLORlDA 32826

UNITED SECURITY MORTGAGE *
868 EAST 5900 SOUTH ` `
MURRY, UTAH 84107 '

NEW CENTURY MORTGAGE COR_PORATION *
18400 VON KARMAN SUITE 1000
IRVINE, CA 92612

The Washington Finance Group, LLC . *
(Century Finance Funding)

616 Emerson Street NW

Washington DC 20011

RED BOX SETTLEMENTS *
1612 U STREET NW

SUITE 405

WASI-IlNG'l'ON DC 20009

COMPLAI`NT FOR PRAUD AND DISHONEST TRADE TRANSACTlONS A_ND
1

 

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FALSIFlCATION OF LOAN DOCUMENTS
The Plaintiff, Luis Ivan Poblete (further referred to as Luis) The property in question is
4130 16m streeth Washington DC 20011. l`he court has jurisdiction in all issues
presented in this law suit.
Contract was made, si gned, and closed in Washington DC and Plaintiff is a resident of
the District. .Suit is filed by Williain S- Bach, Esquire and avers the following facts in

this case and declares them true. All defendants are jointly and severally liable

FACTS
1 `l`his law suite involves a large mortgage scam that has spread in the Mid~
Atlantic States which has bilked homeowners of billions of dollars of lost
equity, and threatens these families with imminent foreclosure Defendants
did willfully participate; these so called real estate professionals,
mortgagees, licensed mortgage brolcers, title insurance
companies, lawyers and settlement agents who orchestrated the whole
scheme. g
2 Hundreds of Maryland, Virginia and the District of Columbia families
entered into refinancing and purchases of their homes were not fully
advised as to the real terms ofthe mortgage Interest and fees were not as
presented in the initial negotiations that were finally settled on.
3 This law suite was facilitated by real estate professionals whose sole
motive was to enrich themselves and their extravagant lifestyles at the

2

 

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expense of hard working citizens of the District of Colurnbia.
4, In this case are systematic of the 2,000 plus cases in Prince Georges

County and Washington metropolitan area.
Defendants by fraudulent and deceptive business practices jointly and
severally used bait and switch tactics and made a loan that could not be
paid by putnam
Plaintiff, was to receive a market rate and did not get the rate as quoted by
mortgage broken "l`he real estate professional reduced their liability and
created a false transaction on paper which appeared to be legitimate but was
actually an elaborate scheme to defraud homeowners Wall street packaged
the loans and put their approval on them as prime investments The over
seas banks and their depositors were just as defrauded as to thelquality of
the loans. Loans were sold as triple A investments European banks could
not protect themselves or their depositors as they purchased billions of
dollars in sub prime loans. 'fhey have since filed law suits against the
securities companies for fraud.

5 The mortgage broker received the yield illegal spread premium and acted

with malice, intent, knowledge; they represented both parties.

6 The negative impact for all homeowners in the District of Columbia as a
result ofthis scam. Hundreds of homeowners will lose their homes and
neighborhoods will lose millions in home values and impact the entire

city.

 

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7. This contract violates section 28~3904 ® of CPPA, Prohibits the melting of
Unconscionable Contract by charging more then 3.75% (points) for a

residential loan refinance.

l`NTRODUCTlON

This case has been instituted pursuant to a) the D`C, Consurner Protection
Act (“CPPA”), sections 28-3901, et seq., D.C. Code, b) the D.C, Loan
Sharl< Act sections 26-901, et seq., D.C. Code, c) the D..C. Interest and
Usury Law, sections 28 3301, et seq., D.C. Code 3) the D.-C. Consumer
Credit Services Arnendment Act. Sections 28¢4601, et seq., D.C. code, e)
and the Home Ownership Equity Protection Act (“HOEPA”), Board
Regulation Z., 12 C.F.R.. section 226
Defendants, jointly and severally, have a) committed acts of intentional

` misrepresentation (fraud) against plaintifl"; b) violated the D.C. consumer
Protection _Act (“C`.PPA”), sections 28~3901, et seq., D.C. code', c) violated
the D'.C. Interest and Usury Law, sections 28~3301, et seq., D.C, code, e)
violated the D.C. Consurner Credit Services Amendment Act, sections 28-
4601, et seq., D.C. Code, f) and the Home Ownership Equity Protection Act
(“HOEPA”) and Board regulation Z., 12 C.F.R. section 226, g) violation of
the Real Estate Settlement Procedures Act (“RESPA”) 12 U.S.C. sections
2601, et seq.., h) breached their fiduciary duties, I unlawfully converted
plaintiffs property, j) committed injurious falsehood, disparagement, and
slander of'title, k) were unjustly enriched, i) breached their contract with

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plaintiffs, thereby also entitling plaintiffs to m) a declaratory judgment and
n) quiet title
Upon information and belief the Mortgagee is not licensed to do business in

» Washington D.C. l
The affiliates aided and abetted each other and have committed acts of
intentional misrepresentation, deceit and fraud in preparing and recording the

noted documents

CHARGE l. FRAUD
Th'e defendant UDMC BANK, OCWEN LOAN SBRVICING, UNITED
SECURITY MORTGAGE, NEW CENTURY MORTGAGE COR_P,
WASHlNGTON FINANCE GROUP AND RED BOX SETTLEMENTS
Negotiated a loan without checking the income of LUIS, Luis was not a
qualified buyer and the interest only loan was tailored to make the loan closed
and packaged for resale. Mortgagee knowingly and intentionally made
fraudulent representations and misrepresentations and omissions of material
facts in order to induce Plaintiff to enter the transaction Plaintiff reasonably _
relied on the representation in executing the subject loan transaction
Defendarits carried out a systematic scheme that affected MINORITIES and
individuals who lacked the full knowledge of real estate fees and true cash
flow expectations Luis`was set up for a default from day one. Defenda.nt
INDYMAC BANK, OCWEN LOAN SERVICING, UN'ITED

SECURITY MORTGAGE, NEW CENTURY MORTGAGE CORP,
5

 

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WASHB\lGTON FINA.NCE GROUP would arrange for mortgages
substantially more then the value of'the property. Luis’s loan were
$688000.00 and a second trust of $l77000.00 This was a 100% loan to an
unqualified buyeri Outrageous fees and charges at the time of closing were
gorged from the borrower

Additional fees were paid to the mortgage broker by the bank for the interest
rate that gave a yield increase to the detriment of luis. Mortgage broker
worked both sides of the loan transaction lvlortgage broker was not licensed to

do business in the district of Columbia

` Plaintiff is in possession of the property and has continued to improve the
property.k Plaintiff has suffered substantial economic harm including but riot
limited to possible lost of his home. The interest rates were not
competitive but unreasonable
The finance scam orchestrated by the defendantsjointly and several ly, created
a conspiracy which they all benefited; including the lawyers and brokers who
received finder’s fees.

The loans were improperly, unfairly and illegally made and all were enriched

by willful, systematic and taking illegal advantage of plaintiff..

The defendants have engaged in will full, systematic and widespread
violations of the Federal Racketeer influenced and corrupt organizations act
(RICO). 'l'he Real Estate Settlements Procedures Act(RESPA), cho provides
protection against patterns of racketeering, which consist of the repeated

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violations of predicate acts which are criminal in nature including mail fraud
and wire fraud. l
RESPA is a consumer protection statue that regulates the settlement
procedures in real estate transaction, which requires the consurners, both
buyers and sellers receive full disclosure at various times in the t;ransaction,
and which outlaws kickbacks or unearned fees as in this case and the true '
costs at the settlement tablet Sclected and identiiied settlement companies
which were know to have overlooked the standard closing formalities Junk
fees and settlement~sheet add~ons must be for actual services performed
Plaintiffs loan was an illegal transaction. Mortgagee received huge fees paid
to loan brokers. There was a lack of prudence shown by the title company and
or its agents. Title company closed so many other similar loans that they had
to know what was going on and failed to stop it. 'l'he defendants had a duty of
fair dealing The HUD documents will show large amounts of fees and cost

paid to the Defendants and no one questioned the amounts

cooNT Two

The HUDl) l disbursements were fraudulently filed and subject to $500,000.00 fine
and a year in jail. All documents did not comport with the obvious reality ot`the closing
amounts and Luis was blind to them. Brokers and Bank loan officers had a duly to
explain the fees and payments. l`here were obvious constructive notice of ’the outrageous
irregularities and illegalitics apparent to all with the exception of the Plaintiff. '[`he
attorney willfully blinded herself along with the closing agent to the obvious illegalities

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in the transaction As agents for the title company they acted in wanton disregard for
the rights of the Plaintitf and are subject to the damages claimed in this matter. The title
company would have been negligent for not inquiring to the obvious fraudulent act of the

sellers, mortgagees and brokers

COUNT THREE

Plaintiff hereby recite and incorporate all of the foregoing paragraphs as fully as
if made again originally and further states: _
The CPPA applies to all real estate transactions, including but not limited to all real
estate transactions, including both the sale of real estate and credit transactions involving

4 real estate..

?laintiff'is a "consumer" within the meaning of D.C. Code section 28~
3901 (a)(Z). And a "trade practice" within the meaning of the D.C. Code sections
23_3901(3)(6) `

Sections 28-3904(e) and (i) make it a violation for any person to misrepresent a

material fact that has a tendency to mislead a consumer or fail to state a

material fact if such failure tends to mislead,

Sections 28-3904® of the CPPA prohibits the making of unconscionable

contracts

The Allegations of Count l arc incorporated additionally and cumulativer as

violations of the CPPA.

Defendants jointly and severally and though their agents, employees and

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affiliates violated D.C. Code sections 28'3904(e) and (t) by making
misrepresentations of material facts or by failing to state material facts, as described
in Count l. Defendants made these statement of fact with the knowledge that they

were false or that their omission would create a false understanding

The Defendants, jointly and severally, and their employees and affiliates Willfully,

intentionally and deceitfully misrepresented and concealed facts regarding, their

intentions with respect to the Plaintiffs’ money, residential property, and title,
and Plaintiffs justifiably relied upon Defendants' willful, deceitiiil, and deliberate
Misrepresentations to their detriment
Plaintiff was injured as a result of defendants conduct and is entitled to actual and
consequential damages Defendants conduct was egregious and committed into or
Willful disregard of plaintiffs’ right warranting the imposition of punitive damages
W`herefore Plaintiff respectfully requests:
A. All documents be declared null and void and no further force and effect;
B. That this Court award all such other and further relief as, in the name of
justice and in consideration of the nature ofPlaintiffs‘ cause, it may deem just
and proper
Plaintiff would not be able to refinance the property and get loans that would
enable the owner to rep. his property, D.C. Code section 29~3904(1') by making an
Unconscionable contract '
Defendant’s actions constituted unfair and deceptive practices with the meaning of
the CPPA.
COUNT FOUR
(Violation of the D.Cr Loan Shark Act, D.C. Code, Sections 26~901, et

seq,.Defendants

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Plaintiff hereby recite and incorporate all of the foregoing paragraphs, as fully

As if made again originally, and further state:

District of Columbia law makes it unlawful to engage in the business of loaning
money at an interest rate in excess of 6 percent without procuring a license. D..C.
Code section 26-§01, et seq_

Violation of the D.C. Interest and Usury Law, D.C. Code, section 28-3301 - All

defendants
Plaintiff hereby recite and incorporate all of the foregoing paragraphs, as full as if made

again originally, and further states:

Deferidants failures to reveal and deliver material disclosures to Plaintiffs-
required in connection with the said subject transacticn, as outlined in the aforesaid
Count ll.lr Also violate D.C. Code section 28-330l (F)(3), thereby entitling Plaintiff
to actual and punitive damages, plus interest, costs, and attorney's fees.

`l'he Subject equitable mortgage transaction described above is a "federally related
mortgage loan" as defined in 12 U.S.C. Section 2602(]), and therefore is subject to
the Real Estatc Settlernent Procedures Act ("RESPA"), 12 U.S.c. Section 2601 et seq.
U_S.C. Section 2607(a) and 24 C.F'R. section 3500.14(0); and (b) giving a portion,

split, or percentage of charges made or received for the rendering of a real estate
settlement service in connection with a transaction involving a federally related
mortgage loan other than for services actually performed, in violation of 12 U.S`C.
Section 2607(a) and 24 C.F.R. Section 1500.14(c).
Defendants jointly and severally violated their duties what include, but are not
limited to a duty to act in good faith for the benefit off Plaintiffs in faithfully executing

duties required by the Real Estate Settlement Procedures Act, as well as to act in good

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faith and to disclose all material information

As a direct and proximate result oftlie Defendants breach of their fiduciary duties,
the Plaintiff was damaged
l`he Defendants breached their fiduciary duties and obligations owed to the

Plaintiff intentionally, maliciously, fraudulently and in conscious disregard of the rights
Of and likelihood of ' y

Defendants ljointly and severally. Had a duty of due diligence to ascertain that the
transaction being performed by Defendants was not illegal or otherwise improper and
determine the legitimacy of the transaction

The settlement company had to use due diligence to ascertain that the transaction
being performed by the Defendants. k

'l`his declaratory judgment action is brought pursuant to D.C. SCR Civil Rule 57’or
the purpose of determining questions of actual controversy between the parties and

terminating uncertainty and controversy giving rise to this proceeding

ll

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WHEREFORE Luis Poblete requests this Court award him $ 3,000,000.00 in
Co`mpensatory damages, and $5,000,000.00 in punitive damages and Court cost and
attorney fees in the amount of 15% and other fees and further relief'as the nature of

this case may require

Respectfully submitted

,//M nw

William S` Bach, Esquire
717 D Street, N.W.

Suite 400

Washington D.C. 20004
301-737~2930 Bar #448392
Attorney for plaintiH`

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